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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

SAMUEL SEAY                                                                          PLAINTIFF

VS.                                                          CAUSE NO:3:20-CV-265-DMB-RP

INSTITUTION OF HIGHER LEARNING,
UNIVERSITY OF MISSISSIPPI,
UNIVERSITY OF MISSISSIPPI POLICE
DEPARTMENT, INN AT OLEMISS,
UNIVERSITY OF MISSISSIPPI ALUMNI
ASSOCIATION, KIRK PURDOM;
CHIEF RAY HAWKINS, AND JOHN DOES I-XX                                              DEFENDANTS


               STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW the Plaintiff, Samuel Seay, counsel for the Plaintiff and counsel for

Defendants, Institution of Higher Learning, University of Mississippi, University of Mississippi

Police Department, Inn at Ole Miss, University of Mississippi Alumni Association, Kirk

Purdom, Chief Ray Hawkins and John Does I-XX, and after agreement file this Stipulation of

Dismissal pursuant to Rule 41(a)(1)(ii) of the F.R.C.P., and would show this action should be

dismissed fully and finally with prejudice as to the Plaintiff as signified by counsel who have

appeared in this action for the parties, with each party to bear their own cost.

       SO STIPULATED, this, the 30th day of August, 2021.



                                              /s/ Samuel Seay
                                              SAMUEL SEAY, PLAINTIFF


                                              /s/ Adam F. Thrash
                                              ADAM F. THRASH, COUNSEL FOR PLAINTIFF
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                                 /s/ Paul B. Watkins, JR.
                                 PAUL B. WATKINS, JR.,
                                 COUNSEL FOR DEFENDANTS; Institution of
                                 Higher Learning; The University of Mississippi;
                                 University of Mississippi Police Department; Inn at
                                 Ole Miss; Kirk Purdom; Chief Ray Hawkins


                                 /s/ Jay M. Atkins
                                 JAY M. ATKINS,
                                 COUNSEL FOR DEFENDANT; University of
                                 Mississippi Alumni Association
